                                                                                11/13/2020

         UNITED STATES DISTRICT COURT                                             AA
                                  District of Kansas
UNITED STATES OF AMERICA,

                    Plaintiff,

             v.                               CASE NO.       20-6156-01-GEB

FREDERICK L. MARTIN,

                    Defendant.

                                  COMPLAINT

      THE UNITED STATES ATTORNEY CHARGES:

                                       COUNT 1

         Sexual Exploitation of a Child – Production of Child Pornography
                                 18 U.S.C. § 2251(a)

      Between August 19, 2020, and October 15, 2020, in the District of Kansas, the

defendant,

                                 FREDERICK L. MARTIN,

knowingly used, persuaded, induced, enticed, and coerced and attempted to use a minor,

Minor Victim 1, to engage in sexually explicit conduct for the purpose of producing a

visual depiction of such conduct, and knowing such visual depiction would be

transmitted using any means or facility of interstate or foreign commerce and in and

affecting interstate or foreign commerce, and knowing and having reason to know that

such visual depiction would be produced using materials that have been mailed, shipped,
and transported in and affecting interstate or foreign commerce by any means, in

violation of Title 18 U.S.C. § 2251(a).

                                          COUNT 2

     Commission of certain felonies while required to register as a Sex Offender
                                 18 U.S.C. § 2260A

       Between August 19, 2020, and October 15, 2020, in the District of Kansas, the

defendant,

                              FREDERICK L. MARTIN,

while being required to register as a sex offender under Federal law and the law of the

State of Kansas, committed a felony offense involving a minor under § 2251, to wit, the

offense listed in Count 1 of this Indictment, in violation of Title 18 U.S.C. § 2260A.



                            FORFEITURE ALLEGATION

       Upon conviction of the offenses in violation of 18 U.S.C. '' 2251, as set out in

Count 1 of this Indictment, the defendant, FREDERICK L. MARTIN, shall forfeit to

the United States of America, pursuant to 18 U.S.C. ' 2253(a)(3), any and all property

used or intended to be used in any manner or part to commit or promote the commission

of such offense of any property traceable to such property, including but not limited to:

       a silver & black Apple iPhone, model A1662, IMEI: 358633071336859;

       All pursuant to Title 18 U.S.C. § 2253 (a).


       I further state that I am a Special Agent with the Department of Homeland

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                                         AFFIDAVIT

        I, John V. Ferreira, am a Special Agent (SA) of the Department of Homeland Security
(DHS), Homeland Security Investigations (HSI), assigned to the Office of HSI Wichita, Kansas.
This criminal complaint is based on the following facts which were obtained from other duly sworn
law enforcement officers based on their interviews and observations:

1)     On October 20, 2020, the Kansas Internet Crimes Against Children Task Force (ICAC)
       received a call from Kansas Department of Corrections (KDOC) Special Agent Brandon
       Bansemer in regard to a current parolee, Frederick MARTIN, born XX/XX/1995.

2)     MARTIN was currently under the supervision of KDOC due to a conviction of Rape from
       the state of Massachusetts that occurred in 2016. This conviction is as a result of MARTIN
       engaging in sexual contact with a 14-year-old female he met online using KIK Messenger.
       MARTIN drove from Sedgwick, Kansas to in Massachusetts to engage the 14-year-old in
       sexual conduct. MARTIN snuck into the residence and engaged the juvenile female in
       sexual conduct. MARTIN was convicted and sentenced to prison for his activities.

3)     Upon his release, his parole supervision was transferred to Kansas, where he resided with
       his parents in Sedgwick, Kansas. His parole was supervised by Parole Officer (PO)
       Cassandra Vogel.

4)     In the early morning hours of October 15, 2020, MARTIN left his parent’s home where he
       was residing, cut his GPS device, and later attempted to flee from police in his vehicle,
       resulting in his arrest.

5)     According to PO Vogel, MARTIN’s mother, Evelyn Martin, contacted her numerous times
       during the early morning hours of October 15, 2020, to advise MARTIN had left the
       residence. When PO Vogel later spoke with MARTIN’s mother Evelyn, she said she spoke
       with MARTIN by phone after his arrest and he said he was worried about a polygraph and
       wasn't going back to prison.

6)     Evelyn told PO Vogel that MARTIN had a cell phone and that MARTIN had been
       communicating with females that he met online and one of them was a 12-year-old in
       Canada. Evelyn said MARTIN claimed the girl's father discovered the relationship and put
       an end to it.

7)     Evelyn advised her husband was on his way to Pratt County to collect MARTIN’s
       belongings and Evelyn agreed to bring MARTIN’s phone to PO Vogel.

8)     Later that day, PO Vogel met with MARTIN’s parents outside of her office in Wichita,
       Kansas and was given Martin's phone: a silver & black Apple iPhone, model A1662, IMEI:
       358633071336859. Evelyn said she was sure MARTIN sent nude photos of himself to
       females.

9)     While in jail, MARTIN called PO Vogel and told her he had been communicating online
       with a 16-year-old girl who resides in California. MARTIN told PO Vogel that was where
       he was going after he left his parent’s home in Sedgwick, Kansas. MARTIN told PO Vogel
      his conversations with the 16-year-old girl were sexual in nature and they traded nude
      pictures with each other. He said he knew she was 16 because her sister told him her age.
      MARTIN also admitted to talking with a 15-year-old in Canada, and that the girl’s dad got
      onto the video chat and ended his access to that girl.

10)   Based upon MARTIN’s parole conditions, parole officers can search MARTIN’s digital
      devices without a warrant. PO Vogel used a passcode from MARTIN to access his phone.
      PO Vogel unlocked the phone and searched it pursuant to the parole stipulations in place
      for MARTIN.

11)   PO Vogel found text message conversations between MARTIN and the juvenile in
      California on the phone, with messages beginning in August 19, 2020. These messages
      showed:

      a)     MARTIN referring to the juvenile as “wifey”;

      b)     the juvenile discussing her homework, school, and need to hide the phone from her
             father;

      c)     reference to additional exchanges via social media platform SnapChat;

      d)     MARTIN described the sexual act he wanted to perform on her;

      e)     MARTIN soliciting her for images of her “V” (a slang term for vagina);

      f)     photos of an adult penis and videos of an adult male masturbating;

      g)     photos of a female under the age of 18, including a full body photo of the female
             which depicted her naked and photos of female genitals.

12)   PO Vogel provided the phone to SA Bansemer who in turn brought the device to the Kansas
      Internet Crimes Against Children (ICAC) Task Force for additional examination.

13)   Detective Wright obtained a search warrant from the 18th Judicial District of Sedgwick
      County, Kansas to search MARTIN’s phone, which was described as a silver & black
      Apple iPhone, model A1662, IMEI: 358633071336859. The phone was then forensically
      examined by WPD Detective Ray Alverson.

14)   The examination revealed the images discovered by PO Vogel, in addition to conversations
      on SnapChat and text message between the juvenile female “wifey” and MARTIN.

15)   The conversations revealed MARTIN sent images of his penis to “wifey”. Examination of
      the phone revealed on August 24, 2020 at 02:37:48 AM UTC 5 the contact “wifey”
      received a text containing an image from MARTIN. The image is a white male hand
      holding an erect penis. On August 23, 2020 at 7:42:38 PM UTC 5 the contact “wifey”
      received a text containing an image from MARTIN. The image depicts a white male hand
      holding an erect penis.
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